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                   15
                                                  UNITED STATES DISTRICT COURT
                   16
                                               NORTHERN DISTRICT OF CALIFORNIA
                   17
                                                       SAN FRANCISCO DIVISION
                   18
                        RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC
                   19
                          Individual and Representative Plaintiffs,    DECLARATION OF JUDD LAUTER
                   20
                             v.
                   21                                                  Discovery Cut-Off: December 13, 2024
                        META PLATFORMS, INC., a Delaware               Date Action Filed: July 7, 2023
                   22   corporation;
                   23                                  Defendant.
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ATTORNEYS AT LAW
                                                                                       DECLARATION OF JUDD LAUTER
                                                                                             3:23-CV-03417-VC-TSH
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                    1          I, Judd Lauter, declare as follows:

                    2          1.      I am a Special Counsel at the law firm of Cooley LLP and am counsel to Defendant

                    3   Meta Platforms, Inc. (“Meta”) in the above-captioned case. I have personal knowledge of the facts

                    4   contained in this Declaration and, if called upon as a witness, could competently testify to them

                    5   under oath.

                    6          2.      Attached hereto as Exhibit A is a true and correct copy of the draft Stipulation and

                    7   [Proposed] Order re Scheduling of Deposition with respect to Meta’s CEO, Mark Zuckerberg,

                    8   which counsel for Meta drafted based upon the Parties agreement to the same.

                    9          3.      On October 8, 2024, Plaintiffs served their Amended Notice of Deposition Pursuant

                   10   to Fed. R. Civ. P. 30(B)(6) to Meta Platforms, Inc. (“Plaintiffs’ Amended Rule 30(b)(6) Notice”),

                   11   a true and correct copy of which is attached hereto as Exhibit B.

                   12          4.      Meta served its responses and objections to the same on October 28, 2024, a true

                   13   and correct copy of which is attached hereto as Exhibit C.

                   14          5.      Counsel for the parties held a meet and confer concerning Plaintiffs’ amended

                   15   30(b)(6) notice on Tuesday, October 29, 2024.

                   16          6.      During the October 29 meet and confer, I asked about the relevance of Topic 5 of

                   17   Plaintiffs’ Amended Rule 30(b)(6) Notice, which calls for testimony on “Meta’s policies and

                   18   procedures regarding its adherence to any laws or regulations, including the EU AI Act, that require

                   19   transparency around the datasets used to train AI models, require authorization from rightsholders

                   20   for the use of the text and data in training AI models, and require disclosure of the use of any
                   21   copyrighted materials to train an AI model.”

                   22          7.      In response, Plaintiffs’ counsel was unable to articulate how or why Topic 5 was

                   23   relevant to this case and instead offered only conclusory statements of relevance.

                   24          8.      Further, Plaintiffs’ counsel refused to identify the specific federal, state, or non-U.S.

                   25   laws or regulations encompassed under Topic 5, except that it includes the EU AI Act and

                   26   unspecified recent legislation in California and Colorado.
                   27          9.      Based on their briefing in conjunction with this matter, Plaintiffs appear to be

                   28   referencing AB 2013, a new California law that imposes certain transparency requirements around
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                                                                                                 DECLARATION OF JUDD LAUTER
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                    1   AI training data, and the Colorado Artificial Intelligence Act.       The former imposes certain

                    2   transparency requirements around datasets used for AI, while the latter is primarily focused on

                    3   regulating high risk uses of AI. Neither has anything to do with copyright law, which is a federal

                    4   statute that expressly preempts state and common law pursuant to 17 U.S. Code § 301.

                    5          10.     A true and correct copy of a blog post published by Cooley LLP concerning AB

                    6   2013 is attached hereto as Exhibit D.

                    7          11.     A true and correct copy of a blog post published by the law firm Skadden is attached

                    8   hereto as Exhibit E.

                    9          12.     Upon information and belief, the “EU AI Act” referenced in Topic 5 pertains to

                   10   “Regulation (EU) 2024/1689 of the European Parliament and of the Council of 13 June 2024

                   11   Laying Down Harmonised Rules on Artificial Intelligence and Amending Regulations (EC) No

                   12   300/2008, (EU) No 167/2013, (EU) No 168/2013, (EU) 2018/858, (EU) 2018/1139 and (EU)

                   13   2019/2144 and Directives 2014/90/EU, (EU) 2016/797 and (EU) 2020/1828,” a true and correct

                   14   copy of which is attached hereto as Exhibit F.

                   15          13.     Article 113 of such EU AI Act states that the act shall not apply until August 2,

                   16   2026, except as to certain sections that will apply no earlier than February 2, 2025.

                   17          14.     Attached hereto as Exhibit G is a true and correct copy of the October 30, 2023,

                   18   Comments of Meta Platforms, Inc., filed in response to the U.S. Copyright Office Notice of Inquiry

                   19   on Artificial Intelligence & Copyright (Dkt. 2023–6).

                   20          15.     Public reporting indicates that Meta has declined to release its AI models in the EU
                   21   due to concerns around privacy regulations, not copyright concerns (which are not referenced in

                   22   the article cited by Plaintiffs). Attached hereto as Exhibit H is a true and correct copy of a

                   23   Guardian article discussing the issue.

                   24          16.     Attached hereto as Exhibit I is a true and correct copy of the October 21, 2024,

                   25   email from Plaintiffs’ counsel, Mr. Maxwell Pritt, and the earlier emails in that chain, which first

                   26   raised Plaintiffs’ purported issues with Meta’s custodial productions. This email chain was
                   27   principally about Meta’s efforts to schedule depositions. Mr. Pritt indicated on October 20, 2024,

                   28   in the same Exhibit, that in light of Meta informing Plaintiffs that it did not represent Mr. Lample,
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                                                                                                DECLARATION OF JUDD LAUTER
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                    1   Mr. Grave and Mr. Rodriguez, Plaintiffs swapped their names for other deponents.

                    2          17.     Attached hereto as Exhibit J is a true and correct copy of the September 6, 2024,

                    3   email from Meta’s counsel to Plaintiffs’ counsel, which informed Plaintiffs that the following

                    4   individuals were no longer employed at Meta and provide their last known location: “Moya Chen

                    5   (Bay Area), Tim Dettmers (Seattle), Susan Zhang (Bay Area), Aurelian Rodriguez (Paris),

                    6   Guillaume Lample (Paris), Xavier Martinet (Paris), and Edouard Grave (Paris).”

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                    8          I declare under penalty of perjury that the foregoing is true and correct. Executed on this

                    9   31st day of October at Berkeley, California.

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                                                                       /s/ Judd Lauter
                   12                                                  Judd Lauter
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                                                                                                DECLARATION OF JUDD LAUTER
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